         Case 3:10-cv-00888-CFD Document 25 Filed 11/05/10 Page 1 of 3



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT
_____________________________________
MARIA ROSENGREN                        )    3:10-cv-00888(CFD)
       Plaintiff                        )
                                       )
v.                                     )
                                       )
ZEE IMPORTS, INC., d/b/a SAAB OF        )
MILFORD, ALLY FINANCIAL INC. f/k/a     )
GMAC, INC., and CHASE BANK USA, NA      )
a/k/a FIRST USA BANK,                  )
       Defendants                       )   NOVEMBER 5, 2010
_____________________________________ )


                      STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(ii), the plaintiff, Maria Rosengren,

through her attorney, and the defendants, Zee Imports, Inc. d/b/a Saab of Milford and

Ally Financial, Inc. f/k/a GMAC, Inc., through their attorneys, hereby stipulate that the

claims of the above-entitled action shall be dismissed with prejudice, and without costs

or attorney’s fees.

                                          Plaintiff, Maria Rosengren


                                          By/s/Daniel S. Blinn
                                          Daniel S. Blinn (ct02188)
                                          Consumer Law Group, LLC
                                          35 Cold Spring Road, Suite 512
                                          Rocky Hill, CT 06067
                                          (860) 571-0408
                                          Fax: (860) 571-7457
                                          dblinn@consumerlawgroup.com
Case 3:10-cv-00888-CFD Document 25 Filed 11/05/10 Page 2 of 3



                           Defendant, Zee Imports, Inc. d/b/a Saab of
                           Milford


                           By /s/ Richard Buturla
                           Richard Buturla (ct05967)
                           Berchem Moses & Devlin, P.C.
                           75 Broad Street
                           Milford, CT 06460
                           Tel. (203) 783-1200



                           Defendant, Ally Financial, Inc. f/k/a GMAC, Inc.


                           By /s/ Patrick J. Rosenberger
                           Patrick J. Rosenberger (ct04371)
                           Shimkus, Murphy & Rosenberger, PC
                           382 New Britain Avenue
                           Hartford, CT 06106
                           Tel. (860) 249-1396
                           Fax. (860) 525-6954
                           prosenberger@shimkusandmurphy.com
         Case 3:10-cv-00888-CFD Document 25 Filed 11/05/10 Page 3 of 3



                                     CERTIFICATION

       I hereby certify that on this 5th day of November, 2010, a copy of foregoing
Stipulation of Dismissal was filed electronically and served by mail on anyone
unable to accept electronic filing. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.


                                             /s/Daniel S. Blinn
                                             Daniel S. Blinn
